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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                           CIVIL ACTION

VERSUS                                                          NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                        SECTION: “I”(5)

                                          ORDER

       Before the Court is the Motion to Enforce Access Provisions of Consent Judgment

and Stipulated Order filed by Plaintiffs. (Rec. doc. 1585). That motion is set for submission

on April 5, 2023 (rec. doc. 1585-3), making OPSO’s response memorandum due March 28,

2023 pursuant to Local Rule 7.3. The OPSO has not, as yet, filed a response to the motion.

However, on March 29, 2023, the Court issued an order granting Plaintiffs leave to file a

supplemental memorandum, which is now in the record at document no. 1591.

Accordingly, and in the interests of justice, the Court hereby continues the submission date

on Plaintiffs’ motion to April 12, 2023. OPSO is hereby ordered to file its response to the

motion and supplemental memorandum in support no later than April 5, 2023.

       New Orleans, Louisiana, this 30th day of      March      , 2023.




                                                   MICHAEL B. NORTH
                                             UNITED STATES MAGISTRATE JUDGE
